        Case 2:13-cr-00041-JLQ    ECF No. 59    filed 04/19/13   PageID.99 Page 1 of 1




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 3
                           UNITED STATES DISTRICT COURT
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                        EASTERN DISTRICT OF WASHIGNTON
 5
 6 UNITED STATES OF AMERICA,                       No. CR-13-041-JLQ-3
 7
                Plaintiff,                         ORDER GRANTING UNOPPOSED
 8 vs.                                             MOTION TO MODIFY
 9
10 SARAH JO WARD,
11                      Defendant.
12
13         Before the court is Defendant’s Unopposed Motion to Modify Conditions of

14   Release, ECF 51. Good case appearing therefor,

15         IT IS ORDERED that the Unopposed Motion to Modify Conditions of

16   Release, ECF No. 51, is GRANTED. The requirement for curfew is modified.

17   Defendant, on days when her employment requires it, shall be restricted to her

18   residence from 2:30 a.m. to 6:00 a.m. All other terms and conditions of her

19   release will remain in full force and effect, including pre-approval by the Probation

20   Office to leave the Eastern District of Washington.

21         DATED April 19, 2013.

22
                              S/ CYNTHIA IMBROGNO
23                      UNITED STATES MAGISTRATE JUDGE
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     ORDER - 1
